






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00273-CR







Larry Wigfield, Appellant



v.



The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW NO. 3 OF WILLIAMSON COUNTY


NO. 09-01437-3, HONORABLE TIMOTHY L. WRIGHT, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Larry Wigfield seeks to appeal a judgment of conviction for assault.  The trial court
has certified that: (1) this is a plea bargain case and Wigfield has no right of appeal, and (2) Wigfield
waived the right of appeal.  The appeal is dismissed.  See Tex. R. App. P. 25.2(a)(2), (d).

										


				___________________________________________

				J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Puryear and Henson

Dismissed for Want of Jurisdiction

Filed:   June 17, 2009

Do Not Publish 				


